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                          IN THE DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

 BRYAN RHODE,

       Plaintiff,

 v.                                   CASE NO.: 3:20-cv-480-MMH-MCR

 CSX TRANSPORTATION, INC.,

       Defendant.
 _______________________________/

                 PLAINTIFF’S OBJECTIONS
   TO MAGISTRATE JUDGE’S REPORT AND RECOMMENDATIONS
   GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
  AND DENYING PLANTIFF’S MOTION FOR SUMMARY JUDGMENT

       Plaintiff BRYAN M. RHODE, by and through his undersigned counsel,

 responds to the Report and Recommendation of the Honorable Monte C.

 Richardson. (Doc. 42). Objections to a Magistrate Judge’s report and

 recommendation are reviewed de novo, see Fed. R. Civ. P. 72(b)(3) and 28

 U.S.C. § 636(b)(1)(C), and a court should “give fresh consideration to those

 issues to which specific objection has been made by a party.” Jeffrey S. v. State

 Bd. of Educ., 896 F.2d 507, 512 (11th Cir. 1990).

       In the instant case, the chief legal officer of a Fortune 500 company had

 a reporting relationship with a senior level employee with whom he previously

 was in conflict because of the compliance and reporting requirements
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 Plaintiff’s position entailed. (Doc. 33-3 at 33). Due to the nature of his position’s

 compliance functions, Plaintiff had Defendant’s Board of Directors (the

 “Board”) instituted strong employment protections, preventing Plaintiff’s

 termination absent Board action. Doc. 33-1 at 76-77 (Rhode Dep. at 75:12-

 76:18). 1

        At Plaintiff’s year-end annual review in February 2019, Chief Legal

 Officer Nathan Goldman and Plaintiff discussed whether Plaintiff might be

 eligible for severance. AR 2 at 2; AR at 23. Other vice presidents engaged in the

 same conversation with their supervisors during the same time period, leading

 to the award of severance pay under the Executive Severance Plan (the “Plan”).

 Doc. 33-5 at 256-58 (Goldman Dep. at 55:5-57:23); Doc. 33-5 at 366-68; Doc. 33-

 5 at 259-60 (Goldman Dep. at 58:13-59:1); Doc. 33-5 at 25 (Sorfleet Dep. at

 24:15-24:22); Doc. 33-5 at 260 (Goldman Dep. at 59:8-59:18). The Chief Legal

 Officer informed Plaintiff on the spot that he was not eligible for severance,

 and to even be considered for severance he had to make a claim under the Plan.

 AR at 63. The Chief Legal Officer and Chief Administrative Officer then set a

 meeting with Plaintiff later that week, at which time the Plaintiff was told he




 1 Plaintiff did not learn of the Board’s employment protections for his position until
 depositions in this case, over two years after his employment ended.
 2 Citations to the Administrative Record are abbreviated “AR” followed by the

 corresponding page number of the Administrative Record, with extraneous zeroes
 removed.
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 had effectively resigned, and he no longer needed to return to work. AR at 2;

 Doc. 33-1 at 96-97 (Rhode Dep. at 95:23-96:23). Plaintiff’s credentials were

 removed, and he was escorted off the premises. AR at 2; AR at 27; AR at 64.

 Plaintiff has never deviated from his repeated assertions that he did not resign.

 See Doc-33-1 (Rhode Dep.); AR at 2; AR at 21; AR at 23; AR at 26-27; AR at 31-

 32.

       Defendant’s Chief Legal Officer supervised Plaintiff, but neither he nor

 the Chief Administrative Officer/Plan Administrator ever disclosed to Plaintiff

 that the Board had protected Plaintiff from termination. Doc. 33-1 at 131

 (Rhode Dep. at 130:13-130:18). Unknown to Plaintiff, his supervisor could not

 terminate, demote, or diminish the responsibilities of Plaintiff. Id., see also

 Doc. 33-2 at 67. Once the discussion of potential severance arose, the Chief

 Legal Officer (with the support of the person who would review their actions)

 could and did manufacture a “resignation,” based only on a general willingness

 to discuss severance benefits.

       A structural conflict of interest was created by Defendant’s role in both

 paying the benefit in question and administering the Plan. Despite Plaintiff’s

 protests to her involvement, the Plan Administrator, who had a serious

 personal conflict of interest, denied Plaintiff’s appeals. For the Plan

 Administrative to have reversed herself in agreement with Plaintiff’s position

 that he did not resign, the Plan Administrator would have had to admit that

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 she participated with another executive in Plaintiff’s termination without

 cause, in direct contravention of the Board’s directives. It would also mean the

 Plan Administrator would have to find that both she and another senior

 executive of Defendant’s were untruthful, or, at best, handled the matter

 incompetently and in contravention of Defendant and Board requirements for

 terminating Plaintiff. While ERISA favors employers and their plan

 administrators, to deny relief to the Plaintiff in these circumstances would

 eviscerate the intentional protections of this important federal statute.

       A. The Report and Recommendation Fails to Address whether
          the Administrator was Erroneous on a Question of Law and
          thus whether the Administrator Acted Arbitrarily and
          Capriciously.

       In the Eleventh Circuit, “[an ERISA] decision is arbitrary and capricious

 if it was made in bad faith, not supported by substantial evidence, or is

 erroneous on a question of law.” Schreck v. Reliance Standard Life Ins., 104 F.

 Supp. 2d 1373, 1376 (S.D. Fla. 2000) (emphasis added). 3 Use of an incorrect


 3  The Eleventh Circuit has held that, where discretion is conferred, a fiduciary’s
 factual findings, as well as plan interpretations, are reviewable under the arbitrary
 and capricious standard. See Paramore, 129 F.3d at 1451; Buckley v. Metropolitan
 Life Ins. Co., 115 F.3d 936, 940 (11th Cir.), reh. denied, 129 F.3d 617 (11th Cir.
 1997). It appears to be an open question as to whether the same standard applies to
 pure questions of law as opposed to simple plan interpretations, but even if the
 arbitrary and capricious standard were to apply to both, it does not prevent a finding
 of abuse of discretion when the administrator utilizes the wrong legal standard. See
 Pratt v. Petroleum Production Management Inc., Employee Sav. Plan & Trust, 920
 F.2d 651, 657 (10th Cir. 1990); Brown v. Retirement Committee of Briggs & Stratton
 Retirement Plan, 797 F.2d 521, 525-26 (7th Cir. 1996), cert. denied, 479 U.S. 1094

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 legal standard is an abuse of discretion, Chicago Tribune Co. v.

 Bridgestone/Firestone Inc., 263 F.3d 1304, 1309 (11th Cir. 2001), and therefore

 per se arbitrary and capricious. 4 The legal standards for resignation are clear

 and require that a resignation may only be found where an employee

 communicates a firm decision to leave employment at a specified time. 5 Yet the

 Magistrate Judge never identified what, if any, legal standard was utilized by




 (1987); Vizcaino v. Microsoft, 120 F.3d 1006, 1013 (9th Cir. 1997), cert. denied, 522
 U.S. 1098 (1998); Sandoval v. Aetna Life & Casualty Ins. Co., 967 F.2d 377, 380 (10th
 Cir. 1992). Other circuits have addressed legal questions under a de novo standard
 when factual determinations are reviewed under the arbitrary and capricious
 standard. Coffin v. Bowater Inc., 385 F. Supp. 2d 38, 49 (D. Me. 2005), aff’d, 501 F.3d
 80 (1st Cir. 2007); Matassarin v. Lynch, 174 F.3d 549, 563 (5th Cir. 1999); Holt v.
 Winpisinger, 811 F.2d 1532 (D.C. Cir. 1987); O’Neil v. Retirement Plan for Salaried
 Employees of RKO Gen., 37 F.3d 55, 62 (2nd Cir. 1997); Berger Transfer & Storage v.
 Central States Pension Fund, 85 F.3d 1374, 1377-78 (8th Cir.1996).

 4 [F]or the purposes of evaluating a plan determination, there is no substantive
 distinction between the terms “arbitrary and capricious” and “abuse of discretion.”
 Paramore v. Delta Air Lines, Inc., 129 F.3d 1446, 1450, n. 2 (11th Cir. 1997).
 5 Chapman v. Fla. Dept. of Labor and Employment Sec., 415 So. 2d 820, 821 (Fla. 2d
 DCA 1982) (employer telling employee to leave in response to employee’s statement
 that he would leave the job amounted to a termination); State v. Murphy, 97 P. 391
 (Nev. 1908) (holding employee gave prospective resignation able to be withdrawn
 when employee stated intent to resign two months from the date of delivering his
 resignation letter); Bank One, Cleveland, N.A. v. Mason, 582 N.E.2d 1085 (Ohio Ct.
 App. 1990) (same); State v. Huff, 87 N.E. 141, 143 (Ind. 1909) (“In order to constitute
 a resignation, it must be unconditional, with intent that it shall operate as a
 resignation.”); Iron Workers Local 627, 298 N.L.R.B. 29, 1990 WL 122342, at *5 (1990)
 (“The statement [that union member is going to resign] is not time specific nor can it
 be construed as an inartful demand to withdraw from the Union at that moment in
 time”); State ex rel. Landis v. Heaton, 180 So. 766, 769 (Fla. 1938) (a resignation is
 not immediately effective unless it is unconditional.).
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 the Administrator in making her decision to treat Plaintiff’s severance inquiry

 as a resignation nor analyzed whether that decision was erroneous.

       The Administrator in this matter determined that Plaintiff had resigned

 under any recognized standard for a resignation. Instead, as reflected in the

 administrative record, and relied upon in the Report and Recommendation, the

 Administrator determined that Plaintiff resigned because “you were not

 involuntarily terminated, as you told both me and others at the company that

 you no longer wanted to work at CSX and were ready to leave as soon as

 reasonably practicable.” 6 Doc. 42 at 46, citing AR 59. Repeating this assertion

 by the Administrator, the Magistrate concludes (in the next sentence of the

 Report and Recommendation), “the undersigned recommends the Plan

 Administrator had a reasonable basis for her decision . . .”. Doc. 42 at 46.

 Without recognizing a standard under which the Administrator’s legal

 determination of resignation could be erroneous, the Magistrate Judge could

 not, as a matter of law, determine if the Administrator’s subsequent decision

 to deny benefits to an employee who “resigned” was, in fact, arbitrary and

 capricious. 7


 6Sorfleet admitted in deposition that the “others” to whom she referred consisted only
 of the one person who purportedly heard Plaintiff utter words constituting a
 resignation – words which Defendant has never specified. Doc. 33-5 at 70-72 (Sorfleet
 Dep. 69:8-71:3).
 7 At footnote 14 of the Report and Recommendation, the Magistrate Judge

 mischaracterizes Plaintiff’s treatment of the six-part ERISA test as inconsistent,

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       Plaintiff never gave a date (or even an approximate date) of resignation

 and never provided a written notice of resignation, and instead was notified

 after a discussion at his annual review about severance that his “resignation”

 was “accepted”; he was assigned a termination date by the Administrator; and

 he was immediately directed to leave the premises. Doc. 33-5 at 16, 43-44, 48

 (Sorfleet Dep. at 15:1-15:3, 42:4-42:12, 42:25-43:5, 47:6-47:12); Doc. 33-5 at

 225, 252 (Goldman Dep. at 24:1-24:3, 51:22-52:1). Goldman and Sorfleet

 describe Plaintiff’s supposed potential departure timeframe inconsistently—

 from no definite time frame, to “2019,” to “soon,” to “right away,” to “as soon as

 reasonably possible”—but concede Plaintiff never gave a specific date or said

 what he would do if severance was not available. Doc. 33-2 at 30-31; Doc. 33-5

 at 14-15, 36 (Sorfleet Dep. at 13:25-14:23; 35:8-35:10); Doc. 33-5 at 225, 235,

 254-55 (Goldman Dep. at 24:1-24:3, 24:22-24:25, 34:15-34:17, 53:24-54:1,

 54:18-54:22). To date, Defendant has never stated what words it alleges

 Plaintiff said that purportedly amounted to a resignation. No authorities cited




 claiming that insisting upon a legal standard for a resignation is only an issue at step
 one, and not a basis for finding the Administrator’s determination arbitrary and
 capricious. Doc. 42 at n.14. What Plaintiff argued, and what footnote 14 omits, is that
 “[a] decision is arbitrary and capricious if it . . . is erroneous on a question of law.”
 Schreck, 104 F. Supp. 2d at 1376. Thus, if the fact finder determines that a plan
 administrator erroneously treated an employee as if he resigned when in fact he was
 terminated, the legal standard used to define “resignation” is part of the arbitrary
 and capricious analysis. and using a wrongful legal standard is per se arbitrary and
 capricious. The Magistrate Judge skips over the crucial link between the legal
 determination and the arbitrary and capricious review.
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 by Defendant suggest that a mere discussion with one’s supervisor of the

 possibility of severance is sufficient to constitute a resignation. By law,

 Plaintiff was terminated.

          The Report and Recommendation cites other bases for “reasonableness”

     that do not meet the standard for ERISA litigation. First, the Magistrate

     Judge repeatedly claims Plaintiff “inconsistencies” (Doc. 42 at 38, 44, 51),

     which he does not explain or substantiate. The idea of “inconsistencies” of

     the Plaintiff was first raised by Defendant not in the administrative process

     but in its motion for summary judgment: “During the administrative claims

     review process, Plaintiff took the inconsistent positions that he had Good

     Reason to resign, while also arguing that CSXT involuntarily terminated his

     employment.” Doc. 32 at 3. However, Plaintiff has always maintained that

     Defendant mischaracterized the discussion about severance at his annual

     review as a resignation, 8 when it was not. By terminating Plaintiff based on

     a preliminary severance discussion, Defendant forestalled any other options

     for Plaintiff under the Plan. Plaintiff’s assertions of the facts surrounding




 8 In its Motion for Summary Judgment, Defendant states its position that if an
 employee enquires as to severance eligibility, the company considers that to be an
 effective resignation and that the resignation cannot be withdrawn even if the
 company determines the employee is not eligible for severance. Doc. 32 at 19.
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     his termination are and have always been entirely consistent, 9 and neither

     Defendant nor the Magistrate Judge cited anything to the contrary to

     support their unsupported allegations of inconsistency. 10

          The Magistrate gives weight to the fact that Plaintiff was permitted to

     return to the premises to retrieve his belongings and speak to his

     subordinates but ignores the other facts. The brief February 15, 2019

     meeting was held only to permit Goldman and Sorfleet to announce that they

     “accepted” Plaintiff’s “resignation,” 11 declare a termination date, 12 and tell

     Plaintiff, in Goldman’s words, “he was expected to leave.” Doc. 33-5 at 238-

     39 (Goldman Dep. at 37:20-38:17). Plaintiff’s credentials were seized and he



 9 The Magistrate counters Plaintiff’s assertion that he “immediately” clarified that he
 had not resigned, stating that Plaintiff waited eight days after the termination to do
 so. Doc. 42 at 14. The Magistrate failed to recognize, however, that Plaintiff’s
 assertion took place before the effective date that Sorfleet had chosen as Plaintiff’s
 last day of employment, AR at 2, 21, 22.
 10 The same cannot be said for the Defendant. Sorfleet stated in a July 16, 2019 letter

 that “you told me and ‘others’ at the company that you no longer wanted to work at
 CSX and were ready to leave as soon as reasonably possible.” AR at 29-30. Sorfleet
 later admitted “others” was only Goldman. Doc. 33-5 at 70 (Sorfleet Dep. at 69:8-
 69:24). Goldman’s February 20, 2019 announcement of Rhode’s and Reinke’s
 departures did not accurately convey the circumstances of Reinke’s departure (see
 Doc. 33-5 at 366-68; Doc. 33-5 at 363), nor as Plaintiff alleges, his departure. Goldman
 drafted an elaborate memo following Plaintiff’s departure to justify his and Sorfleet’s
 “resignation” conclusion (AR at 63-64), even though he testified there was no doubt
 in his mind Plaintiff had resigned (Doc. 33-5 at 242 (Goldman Dep. at 41:14-41:18)),
 and therefore no reason to have to spend so much effort supporting a conclusion he
 claims could not reasonably be disputed.
 11 Doc. 33-5 at 37, 42 (Sorfleet Dep. at 36:7-36:11, 41:8-41:9); Doc. 33-5 at 237

 (Goldman Dep. at 36:16-36:22)
 12 Doc. 33-4 at 82 (Sorfleet Dep. at 81:21); Doc. 33-5 at 238 (Goldman Dep. at 37:2-

 37:7).
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   was only permitted to return the following business day to retrieve his

   belongings and announce to his subordinates his departure under

   supervision by an HR representative. Doc. 33-5 at 43-45 (Sorfleet Dep. at

   42:4-42:12, 43:24-44:13); see also AR at 60-61; Doc. 33-5 at 240 (Goldman

   Dep. at 39:1-39:5).

        The Magistrate further concludes, “the Plan Administrator reasonably

  interpreted and understood his [Plaintiff’s] statements and actions to be a

  resignation based on what he mistakenly believed qualified as “Good Reason”

  under the Plan.” Doc. 42 at 53. Respectfully, this statement reflects a

  misunderstanding of “Good Reason” and the Plan provisions and supports a

  conclusion that Defendant impermissibly transformed an inquiry into a

  resignation. An employee is entitled to raise “Good Reason” 13 for a resignation

  that would entitle the employee to severance. AR at 6. If an employee asserts

  “Good Reason,” the company may respond within thirty days to remedy the

  concerns and maintain an executive’s employment. Id. The Magistrate Judge

  adopts Defendant’s assertion 14 that a “Good Reason” inquiry constitutes a

  resignation which cannot be rescinded even if the employer does not grant

  severance, a conclusion nowhere supported by the Plan.




  13 Whether Plaintiff would have had “Good Reason” for other claims under the Plan
  is not at issue in this case, as each of the parties have conceded. See Doc. 32 at 4.
  14 Page 19, Defendant’s Motion for Summary Judgment.


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        B. The Magistrate Judge improperly skipped the requisite
           analysis of whether the Administrator performed a full and
           fair review before evaluating the Administrator’s decision to
           deny benefits.
        Under ERISA, the proscription against arbitrary and capricious benefits

  decisions is embodied in the requirement that “the appropriate named

  fiduciary” provide a “full and fair review” of denied claims. 29 U.S.C. § 1133(2);

  Boysen v. Ill Tool Works, Inc., 767 F. App’x 799, 806-07 (11th Cir. 2019). A

  court must first decide whether a full and fair review was afforded under a de

  novo standard, prior to any review of the benefits decision. Id. An inadequate

  investigation can render a Plan Administrator’s determination arbitrary and

  capricious. Capone v. Aetna Life Ins. Co., 592 F.3d 1189, 11991545 (11th Cir.

  2010).

        In response to Plaintiff’s concerns over the fairness of the ERISA review,

  the Magistrate concludes simply that he “finds Plaintiff’s arguments [about the

  absence of a full and fair review] to be unavailing” and impermissibly moves

  into making his case for reasonableness. Doc. 42 at n. 18 (internal citations

  omitted).

        In the administrative appeal, Plaintiff made a very simple and easy-to-

  accommodate request to evaluate whether his amorphous interest in severance

  was more than a speculative discussion: that the Administrator review his

  emails, files and computerized calendar and speak with the people who worked

  for him to evaluate Plaintiff’s intent. AR. at 21, 23-24. The Plan Administrator
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  did not consider any records of communications that Plaintiff may have had

  with subordinates, peers, or others in the company as to whether he had

  planned to resign or did resign, despite Plaintiff’s request she do so. Doc. 33-5

  at 60-61 (Sorfleet Dep. at 59:25-60:4); see also AR at 23-24. Plaintiff explained

  that the documents maintained by CSX (to which he no longer had access)

  would clearly support the conclusion that he had no specific intent to resign.

  Id. 15   For a high-ranking position such as Plaintiff’s it would, indeed, be

  shocking for an executive to have failed to take actions in preparation to resign,

  and an electronic record of his planned activities would reflect an intent to

  remain or stay. To afford a plan participant whose claim has been denied a

  reasonable opportunity for full and fair review, the plan’s fiduciary must

  consider any and all pertinent information reasonably available to him.

  Grossmuller v. Int’l Union, United Auto., Aerospace & Agr. Implement Workers

  of Am., UAW, Local 813, 715 F.2d 853, 857 (3d Cir. 1983); Toland v.

  McCarthy, 499 F. Supp. 1183, 1190 (D. Mass. 1980); Teeter v. Supplemental

  Pension Plan of Consol. Rail Corp., 705 F. Supp. 1089, 1095 (E.D. Pa. 1989);

  Hammer v. First Unum Life Ins. Co., 01 Civ. 9307, 2004 WL 1900334 at *5

  (S.D.N.Y. Aug. 25, 2004); Crocco v. Xerox Corp., 956 F. Supp. 129, 139 (D. Conn.




   15Plaintiff’s calendar and ongoing planning and mentoring efforts for his team all
   suggest he was engaging in work as usual. See Doc. 33-5 at 377-389.


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  1997), aff’d in relevant part, Crocco v. Xerox Corp., 137 F.3d 105, 108 (2d Cir.

  1998).    The Magistrate Judge erroneously accepted CSX’s argument that

  reviewing Plaintiff’s calendar entries or interviewing his subordinates to

  determine whether Plaintiff had actually planned to resign would have no

  bearing on the Administrator’s determination that Plaintiff had resigned. Doc.

  42 at 49. If an appropriate standard of “resignation” had been used, the

  Administrator could have easily reviewed documents that clearly supported

  the conclusion that Plaintiff had not resigned. It was not, and she did not.

         As addressed further below, the Administrator in this matter is the same

  person who effectively fired Plaintiff by deeming his interest in severance

  benefits to be a resignation. While the implicit bias of a decision-maker creates

  a conflict of interest, it also serves to deny an ERISA “full and fair” hearing. A

  full review is meaningless if it is fixed from the beginning. 16



  16Sorfleet herself admits that her decision to terminate Plaintiff was, in her mind,
  not subject to an appeal process:

  Q. Okay. And in the letter he states that he was involuntarily terminated; is that right?
  A. Let me read it. Yes.
  Q. All right. And he asked for an appeal; is that correct?
  A. Yes.
  Q. Was there any appeal process available to him?
  A. For the termination?
  Q. Yes.
  A. No.

  Doc. 33-5 at 49 (Sorfleet Dep. at 48:6-48:15).17 Whether Plaintiff would have had
  “Good Reason” under the Plan is not at issue in this case, as each of the parties have
  conceded. See Doc. 32 at 4.
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        In failing to recognize any standard for a resignation, the Magistrate

  failed also to understand the importance of Defendant’s admission in its own

  motion for summary judgment. Defendant states: “[t]he Plan does not allow for

  an employee to request severance benefits under the Good Reason provision,

  and then revoke their resignation.” Doc 32 at 19. Defendant therefore asserts

  that Plaintiff merely requested benefits based on “Good Reason” and thereby

  effectively “resigned.” The Plan permits an employee to raise “Good Reason” 17

  for a resignation that would entitle the employee to severance. AR at 6. The

  Plan then permits the employer to respond to the written asserted “Good

  Reason” within thirty days to address the asserted justifications for leaving.

  Id. Far from triggering an effective resignation, a severance inquiry to the Plan

  Administrator is a means under the Plan to permit the Defendant to remedy

  harm to the employee and maintain an executive’s employment.

        Defendant’s interpretation, exemplified so clearly in its treatment of

  Plaintiff, is directly contrary to ERISA, the purpose of which is “promot[ing]

  the interest of employees and their beneficiaries,” 18 and the Plan, which

  emphasizes, “No one, including your employer, or any other person, may fire

  you or otherwise discriminate against you in any way to prevent you from




  17 Whether Plaintiff would have had “Good Reason” under the Plan is not at issue in
  this case, as each of the parties have conceded. See Doc. 32 at 4.
  18 Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 102, 109 S. Ct. 948, 950 (1989).


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  obtaining a welfare benefit or exercising your rights under ERISA.” AR at 13.

  Neither the ERISA statute nor CSX’s Plan are designed to penalize an

  employee for merely raising the issue of benefits under the Plan. Defendant’s

  position, and its conduct in this case, contradicts both the Plan document itself

  and the purposes of ERISA by penalizing a mere inquiry into severance

  eligibility and transforming it into a termination.

       C. The Response and Recommendation fails to weigh and consider
       the effect of a conflict of interest on whether the Administrator
       acted reasonably.
         Magistrate Judge Richardson permitted Defendant to rely on an ERISA

  “appeal” process conducted by the very person who wrongfully 19 and in

  violation of a directive of the CSX Board of Directors 20 terminated Plaintiff.

  Sorfleet sat in judgment of the veracity of her own credibility, her own

  impressions, and her own actions as to whether she and another company

  executive had actually fired Plaintiff when they “accepted” as a resignation

  Plaintiff’s inquiry into severance benefits. In order for the Plaintiff to execute

  his critical compliance and law enforcement responsibilities, the Board had



  19 “If two or more persons shall agree, conspire, combine or confederate together . . .
  to cause the discharge of any person from work in such firm or corporation. . . such
  persons so combining shall be deemed guilty of a misdemeanor of the first degree . .
  .” Fla. Stat. § 448.045. Civil liability under the statute is barred by the
  intracorporate conspiracy doctrine, Israel v. Bellsouth Telecommunications, Inc, 12-
  60806-CIV, 2012 WL 12862809, at *5 (S.D. Fla. July 10, 2012), but the doctrine does
  not apply to criminal conspiracies. McAndrew v. Lockheed Martin Corp., 206 F.3d
  1031, 1035 (11th Cir. 2000).
  20 Doc. 33-1 at 131 (Rhode Dep. at 130:13-130:18).


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  directed Plaintiff could be terminated without cause only by the Board itself. 21

  For Sorfleet to have concluded Plaintiff did not resign would mean Sorfleet and

  Goldman had violated the Board’s directive.

        The Magistrate Judge, however, dismissed Plaintiff’s conflict claims

  regarding Sorfleet, finding that Plaintiff had failed to prove that the

  Administrator was “tainted by self-interest, such as showing a history of bias,

  or lacking in evidentiary support sufficient to render her findings arbitrary and

  capricious.” Doc. 42 at 57. He creates a de facto yet circular standard under

  which she can believe herself as a fact witness, and in believing herself,

  conclude that her decision is reasonable. ERISA, however, recognizes that a

  conflict of interest analysis is case-specific:

        We believe that Firestone means what the word “factor” implies,
        namely, that when judges review the lawfulness of benefit denials,
        they will often take account of several different considerations of
        which a conflict of interest is one. This kind of review is no stranger
        to the judicial system. Not only trust law, but also administrative
        law, can ask judges to determine lawfulness by taking account of
        several different, often case-specific, factors, reaching a result by
        weighing all together.

  Metro. Life Ins. Co. v. Glenn, 554 U.S. 105, 117 (2008) (citations omitted).

  Conflicts must be evaluated and weighed, and entities are specifically warned




  21Goldman and Sorfleet withheld from Plaintiff knowledge of these important Board
  protections. In fact, the Plaintiff did not learn of his Board-provided employment
  protections until depositions in this case, over two years after his employment ended.
  Doc. 33-1 at 131 (Rhode Dep. at 130:13-130:18).
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  to employ methods to ensure that biased individuals are not involved in the

  review of claims:

           In such instances, any one factor will act as a tiebreaker when the
           other factors are closely balanced, the degree of closeness
           necessary depending upon the tiebreaking factor’s inherent or
           case-specific importance. The conflict of interest at issue here, for
           example, should prove more important (perhaps of great
           importance) where circumstances suggest a higher likelihood that
           it affected the benefits decision, including, but not limited to, cases
           where an insurance company administrator has a history of biased
           claims administration. . . It should prove less important (perhaps
           to the vanishing point) where the administrator has taken active
           steps to reduce potential bias and to promote accuracy, for
           example, by walling off claims administrators from those
           interested in firm finances, or by imposing management checks
           that penalize inaccurate decisionmaking irrespective of whom the
           inaccuracy benefits.

  Id. 22

           While Newell v. Prudential Ins. Co. of Am., 904 F.2d 644, 650 (11th Cir.

  1990), held that a paying entity having its “own employee make

  determinations of medical need does not violate ERISA as a matter of law” and

  that the same employee’s later review did not create a conflict, no Eleventh

  Circuit case has gone so far as permitting an administrator to evaluate claims



  22Here, not only was Goldman not “walled off” from the Administrator’s decision-
  making process, he played an integral part. The Administrator admits that Goldman
  not only instructed her before her review that the Plaintiff was ineligible for benefits
  (Doc. 33-5 at 17 (Sorfleet Dep. at 16:7-16:11)), that he participated in her meeting
  with Plaintiff to inform him he was deemed to have resigned (Doc. 33-5 at 41-42
  (Sorfleet Dep. at 40::23-41:3), and that his legal department participated in her
  review of her and Goldman’s actions Doc. 33-5 at 51 (Sorfleet Dep. at 50:21-50:24);
  Doc. 33-5 at 54 (Sorfleet Dep. at 53:6-53:8).
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  of misconduct that the administrator herself was alleged to have committed.

  Deference must have its limits. It offends any notion of fundamental fairness

  for an individual accused of misconduct to sit in her own judgment of her

  actions. Simply put, a person alleged of improper conduct should not be

  permitted to act as its own judge and jury as to the impropriety of that conduct.

  In Goldberg v. Kelly, 397 U.S. 254 (1970), the Court addressed the implications

  of a decisionmaker reviewing his own decision, stating “[w]e agree with the

  District Court that prior involvement in some aspects of the case will not

  necessarily bar a welfare official from acting as a decision maker. He should

  not, however, have participated in making the determination under review.”

  Id. at 271; see also Roberts v. U.S., 357 F.2d 938, 944 (Ct. Cl. 1966) (“Thus, if

  the Secretary of the Smithsonian Institution should be considered as the

  contracting officer . . ., it would be improper for him to wear a second hat as

  head   of   the   department   under      the    disputes      clause,    for   no   man

  can review his own decision with    the       requisite     degree   of   quasi-judicial

  detachment and impartiality.”); In re Murchison, 349 U.S. 133, 137 (1955)

  (allowing judge to file charges and preside over trial violates due process).

         Administrator   Sorfleet    was    directly        involved   in   making     the

  determination under review—whether Plaintiff resigned his employment or

  was fired. Assuming the truth of Plaintiff’s allegations, Sorfleet transformed

  an inquiry about Plan benefits into a voluntary quit, depriving Plaintiff of

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  substantial and valuable monetary benefits and acting contrary to her Board

  of Directors. Based on this intensely self-interested conflict, there could be no

  alternative decision; there could be no full and fair review.

        While the Magistrate Judge recommends finding a structural conflict, he

  dismisses without analysis its effect on the reasonableness analysis, stating

  simply that it was “insufficient to transform the Plan Administrator’s

  reasonable decision into one that is arbitrary and capricious.” Doc. 42 at 58.

  Step six of the 11th Circuit’s ERISA claim denial review requires that a conflict

  of interest be taken into account by the court when undertaking its

  reasonableness review. Kaviani v. Reliance Standard Life Insurance Comp.,

  799 F. App’x 753, 756 (11th Cir. 2020). The severity of the conflict and impact

  of that conflict in any given case determines how much weight the conflict

  should be afforded in the court’s reasonableness analysis. Keys v. Bert

  Bell/Pete Rozelle NFL Player Ret. Plan, 493 F. Supp. 3d 1147, 1167 (M.D. Fla.

  2020), appeal dismissed sub nom. Keys v. Bert Bell / Pete Rozelle NFL Players

  Ret. Plan, 20-14031-GG, 2021 WL 2252144 (11th Cir. May 11, 2021) (citing

  Blankenship, 644 F.3d at 1355). The point of step six of the ERISA analysis is

  that a jurist cannot find reasonableness without considering and weighing the

  impact of a conflict. Id.; Keys, 493 F. Supp. 3d at 1167. He cannot start with

  a reasonableness premise, which is exactly what the Magistrate impermissibly

  did here.

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        The Administrator’s conflict was substantial, obvious, and egregious.

  The structural conflict, along with the enormous personal conflict of having an

  alleged wrongdoer evaluate her own actions in wrongfully terminating

  Plaintiff, certainly “should prove more important (perhaps of great

  importance)” because the “circumstances suggest a higher likelihood that it

  affected the benefits decision.” Glenn, 554 U.S. at 117. If the Supreme Court

  deemed it necessary to warn insurance companies to create independent

  evaluators uninvolved with the initial decision to avoid bias, id, surely it would

  consider the prospect of an administrator reviewing her own alleged wrongful

  termination of an employee to weigh heavily against the reasonableness of a

  decision.

        Respectfully submitted this 17th day of February 2022.

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                        CERTIFICATE OF SERVICE

        I CERTIFY that the foregoing document was electronically filed with the

  U.S. District Court on this 17th day of February 2022, via CM/ECF and was

  served this day on Thomas R. Brice (tbrice@mcguirewoods.com) and Cameron

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  Transportation, via CM/ECF and/or e-mail.


                                            /s/ Alexandra Underkofler
                                            Alexandra Underkofler




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